          CASE 0:14-cr-00289-SRN-ECW Doc. 740 Filed 03/22/24 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    United States of America,                      Criminal No. 14-289(11) (SRN/ECW)

                        Plaintiff,

    v.                                                         ORDER

    Jesus Sotelo-Valdovinos,


                        Defendant.



Allen A. Slaughter, United States Attorney’s Office, District of Minnesota, 300 S. 4th St.,
Ste. 600, Minneapolis, MN 55415, for the United States

Jesus Sotelo-Valdovinos, 2498 Roll Dr., Ste. 812, San Diego, CA 92154, Pro Se Defendant
________________________________________________________________________

SUSAN RICHARD NELSON, United States District Judge

         Before the Court are Defendant/Petitioner Jesus Sotelo-Valdovinos’ Pro Se Motions

for Expungement [Doc. Nos. 738 & 739]. 1 For the reasons set forth below, Mr. Sotelo-

Valdovinos’ motions are denied.




1
  The two motions are identical. Mr. Sotelo-Valdovinos filed the first motion in this
criminal matter, as reflected in the caption [Doc. No. 738 at 1]. He attempted to file the
second motion in case number 14-mj-161 (TNL) [Doc. No. 739 at 1]—a case number
assigned to an application by the Government to obtain a search warrant. Because Mr.
Sotelo-Valdovinos did not provide the correct file number on the second motion, i.e., 14-
cr-289 (SRN/ECW), the Clerk of Court properly filed the motion in this criminal matter.
          CASE 0:14-cr-00289-SRN-ECW Doc. 740 Filed 03/22/24 Page 2 of 3




    I.       BACKGROUND

          On August 10, 2015, Mr. Sotelo-Valdovinos pleaded guilty to one count of

conspiracy to distribute methamphetamine, in violation of 21 U.S.C. § 841(a)(1). (Aug.

10, 2015 Minute Entry [Doc. No. 303].) The Court sentenced him to a 75-month term of

imprisonment, with no supervision to follow. (Sentencing J. [Doc. No. 494] at 2.)

          Mr. Sotelo-Valdovinos now moves for expungement, stating,

          Based on the of [sic] 02/15/2019, he simply respectfully request[s] that the
          Court issue a formal Order that the arrest for the offenses, the institution of
          criminal proceedings against the defendant in Federal Court, and the results
          thereof, be expunged from all official records, except the non-public records
          to be retained by the[] Department of Justice pursuant to 18 U.S.C. § 3607(b).

(Mots. for Expungement at 2.) He asserts that he makes the request “[h]aving complied

with the period of supervis[ed] release order[ed] by the [Court]” and that he “has completed

the orderly Supervised Probationary Period.” (Id.)

    II.      DISCUSSION

          “[F]ederal courts are courts of limited, not general, jurisdiction.”      Thomas v.

Basham, 931 F.2d 521, 522 (8th Cir. 1991). While a defendant may move for expungement

of a criminal record pursuant to statutory authority, 2 the Eighth Circuit has held that “a

motion to expunge a criminal record that is based solely on equitable grounds does not

invoke the ancillary jurisdiction of the district court.” United States v. Meyer, 439 F.3d



2
  See, e.g., 18 U.S.C. § 3607(c) (providing that certain persons who were under age 21 at
the time of an offense for drug possession, and who meet other qualifying criteria, may
seek expungement); see also United States v. Sumner, 226 F.3d 1005, 1012 (9th Cir. 2000)
(noting power to expunge a criminal record may arise under the Civil Rights Act, habeas
corpus statutes, a portion of the All Writs Act, or the Constitution itself).
             CASE 0:14-cr-00289-SRN-ECW Doc. 740 Filed 03/22/24 Page 3 of 3




855, 860 (8th Cir. 2006). Rather, ancillary jurisdiction may be invoked only to “expunge[e]

the record of an unlawful arrest or conviction or to correct a clerical error.” Id. at 861.

         Mr. Sotelo-Valdovinos does not invoke the Court’s jurisdiction based on statutory

or constitutional authority. 3 Instead, he provides only an equitable basis for relief, stating

that he has complied with “the period of supervis[ed] release.” 4 (Mots. for Expungement

at 1.) He does not argue that a clerical error occurred or that his conviction was unlawful.

Accordingly, because the Court lacks jurisdiction to grant the requested relief, Mr. Sotelo-

Valdovinos’ motions are respectfully denied.

      III.     CONCLUSION

         Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT

         1. The Pro Se Motions for Expungement [Doc. Nos. 738 & 739] filed by Jesus
            Sotelo-Valdovinos are DENIED.


Date: March 22, 2024                               s/Susan Richard Nelson
                                                   Susan Richard Nelson
                                                   United States District Judge




3
  Mr. Sotelo-Valdovinos’ motions appear to contain a missing word or phrase, as he states,
“Based on the [_] of 02/15/2019.” (Mots. for Expungement at 2.) To the extent he intended
to refer a statute or other constitutional authority, it is not identified.

The Court has also reviewed the docket in this case and finds no entries for February 15,
2019.
4
    The Court notes that his sentence did not include a period of supervised release.
